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IN THE UNITED STATES DISTRICT COURT 05
FOR THE WESTERN DISTRICT OF TENNESSEE /H}’? " O/"
EASTERN DIVISION ~ 3 4

 

 

THE PROVIDENT BANK dfb/a
PCFS MORTGAGE RESOURCES,
Plaintiff,
v. No. 1-04-1017-T
Judge James D. Todd
TENNESSEE FARMERS MUTUAL S. Thomas Anderson,
INSURANCE COMPANY, Magistrate Judge
Defendant.

 

` ORDER

 

This matter came before the Court on the defendant’s Motion for Extension of Time to
Resp&d to the Plaintift’s Motion for Partial Surnrnary Judgment as to Declaratory Judgrnent

Actio_n'_, Extension of Scheduling Deadlines and New Trial; and it appearing to the Court that the
motidn-is well taken and should be granted; it is, therefore,
VjORDERED, ADJUDGED and DECREED that the parties’ expert disclosure deadline be
extended to 8-31-05 . that the parties’ deposition deadline be extended to
1,1__3 1 _n= , that the parties’ dispositive motion deadline and the time in Which

the defendant has to respond to the plaintiff’s Motion for Partial Surnmary Judgment be extended

to 1 1_'zn_.n'=. , and that this matter be reset for trial on 3..5_05 .

 

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DATE: M¢MM
Thls document entered on the dockets

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 1:04-CV-010]7 Was distributed by fax, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

